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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                     Case No. 2:18-cv-01135-AJS
                       Plaintiff,

v.

PC SHIELD INC., an Oklahoma corporation,

                       Defendant.

                  PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT

       Plaintiff Wendell H. Stone Company, Inc. d/b/a Stone & Company (“Plaintiff” or

“Stone”) hereby respectfully moves to have this Court enter default against Defendant PC Shield,

Inc. (“Defendant” or “PC Shield”). Entry of Default is proposed against Defendant PC Shield

because it has failed to answer or otherwise respond to Plaintiff’s Class Action Complaint.

Defendant PC Shield was served on September 22, 2018 and to date has not responded.

       The Affidavit of Default, attached hereto as Exhibit A, further supports this request.



                                                     Respectfully,

Dated: October 29, 2018                              STONE & COMPANY, INC., individually,
                                                     and on behalf of all others similarly situated,

                                                     /s/ Patrick H. Peluso
                                                     One of Plaintiff’s Attorneys

                                                     Stuart C. Gaul, Jr.
                                                     Pa. I.D. No. 74529
                                                     Gaul Legal LLC
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                                     Counsel for Plaintiff and the Putative Class

                                     *pro hac vice admission




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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the above titled

document was served upon counsel of record by filing such papers via the Court’s ECF system

on October 29, 2018.

                                                    /s/ Patrick H. Peluso




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